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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION


  BABY DOE, et al.,                                     )
                                                        )
                  Plaintiffs,                           )
                                                        )
  v.                                                    )       Case No. 3:22-cv-49-NKM
                                                        )
  JOSHUA MAST, et al.,                                  )
                                                        )
                  Defendants,                           )
                                                        )
                                                        )

    DEFENDANTS JOSHUA AND STEPHANIE MAST’S MOTION TO SEAL THEIR
  ANSWER TO THE AMENDED COMPLAINT; AFFIRMATIVE & OTHER DEFENSES;
                    & COUNTERCLAIM COMPLAINT

           Defendants Joshua and Stephanie Mast (the “Masts”), by and through their undersigned

  counsel, hereby move the Court to seal their Answer to the Amended Complaint; Affirmative &

  Other Defenses; & Counterclaim Complaint (ECF No. 467). In support of their motion, the Masts

  state as follows:

           1.      The Masts’ Answer contains discussion of and reference to information that is

  subject at least potentially subject to the Court’s protective order in this case (ECF No. 26).

           2.     While the Masts have objected to that protective order and asked that it be lifted,

  they seek to file this document under seal with limited redactions to avoid any suggestion that they

  might identify Plaintiffs or their relatives.

           3.     The Masts believe sealing is the best way to comply with the Court’s protective

  order.

           For the above reasons, the Masts respectfully request the Court grant this Motion to Seal

  Their Answer to the Amended Complaint.
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  Dated: August 7, 2024              Respectfully submitted,

                                     /s/ John S. Moran .




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